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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

NICHOLAS MARTIN on behalf of himself and         )
others similarly situated,                       )    1:09-cv-8067
     Plaintiff,                                  )
                                                 )    Judge Pallmeyer
            v.                                   )
                                                 )    Magistrate Judge Mason
WEST ASSET MANAGEMENT, INC.,                     )
    Defendant.                                   )
                                                 )    JURY DEMANDED

                              Rule 41(a)(1) Stipulation for Dismissal

       The parties to this action hereby stipulate to dismissal of this action with prejudice and

without costs, pursuant to Fed.R.Civ.P. 41(a)(1). The claims of the putative class members are

dismissed without prejudice.



Respectfully submitted,



/s/Alexander H. Burke                                /s/ James K. Schultz (with permission)
Counsel for Plaintiff                                Counsel for Defendant

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